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              In the United States Court of Federal Claims
                                        No. 06-522V
                                  (Filed January 28, 2011)
 ***********************                         *   National Childhood Vaccine
                                                 *   Injury Act, 42 U.S.C. §§ 300aa-1
 ROBERT VERYZER,                                 *   - 300aa-34 (2006); petition for
                                                 *   review; proof of causation in
                              Petitioner,        *   fact; 42 U.S.C. § 300aa-
                                                 *   12(d)(3)(A)(I), findings of fact
               v.                                *   by special master; Vaccine R.
                                                 *   8(b)(1); Daubert v. Merrell Dow
 SECRETARY OF HEALTH                             *   Pharm., Inc., 509 U.S. 579
 AND HUMAN SERVICES,                             *   (1993); special master’s
                                                 *   authority in limine to exclude
                              Respondent.        *   expert opinions.
                                                 *
 ***********************                         *
       Alan C. Milstein, Pennsauken, NJ, for petitioner.

     Voris E. Johnson, Jr., Washington, DC, with whom was Assistant Attorney General
Tony West, for respondent.

                      MEMORANDUM OPINION AND ORDER

MILLER, Judge.

       This case, before the court after argument on petitioner’s motion for review of the
special master’s order of dismissal, involves an examination into the nature and extent of the
authority of the office of special masters to admit or exclude expert opinion evidence from
the record that Congress contemplated under the National Childhood Vaccine Injury Act,
42 U.S.C. §§ 300aa-1 - 300aa-34 (2006) (the “Vaccine Act”). On July 17, 2006, petitioner
filed a petition in the United States Court of Federal Claims, alleging that he is due
compensation under the Vaccine Act for injuries allegedly sustained following a Hepatitis
A vaccination. To receive compensation under the Vaccine Act, a petitioner must
demonstrate that he was given a vaccine listed on the Vaccine Injury Table, 42
U.S.C. § 300aa-14 (the “Vaccine Injury Table”), and that this vaccine caused him to develop
either an injury presumed to have been caused by a vaccination or an “off-Table” injury, i.e.,
an injury not presumed to have been caused by the vaccines listed in the Vaccine Injury
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Table. See 42 U.S.C. § 300aa-11(c). Petitioner pleaded an off-Table injury, which requires
proof of causation. 42 U.S.C. § 300aa-11(c)(1)(C)(ii)(I).

        Special Master Richard B. Abell granted respondent’s motions in limine excluding
from the record petitioner’s expert opinions as to causation on the ground that both experts’
methodologies and qualifications did not meet the standards for reliability set forth by the
United States Supreme Court in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
(1993). Shortly thereafter, petitioner moved for a decision based on the written record,
pursuant to § 300aa-12(d)(2)(D). The special master denied compensation after concluding
that, in the absence of reliable expert opinion, petitioner’s medical records and other
supporting documentation were insufficient to meet petitioner’s burden of proving causation
in fact set forth in Althen v. Secretary of Health and Human Services, 418 F.3d 1274 (Fed.
Cir. 2005). The issues to be decided are whether the special master had the authority to
exclude the opinions of petitioner’s experts; if so, whether the special master’s decision to
do so was an abuse of discretion; and whether the special master’s subsequent decision
denying compensation was arbitrary, capricious, or an abuse of discretion.

                                           FACTS

       The record on review supports the recitation of facts cited in the special master’s order
and opinions. Robert Veryzer (“petitioner”) was formerly an instructor of business at the
University of Florida and was an Associate Professor at the Lally School of Management &
Technology, Rensselaer Polytechnic Institute. Petitioner earned a B.A. from Olivet College,
an M.B.A. from Michigan State University, and a Ph.D. from the University of Florida. He
has authored numerous scholarly articles and a book focusing on business and marketing.
On April 25, 2001, at age forty-one, petitioner received both the Hepatitis A and Hepatitis
B vaccinations. Veryzer v. Sec’y of Health & Human Servs., No. 06-0522V, 2010 WL
5185485, at *1 (Fed. Cl. Spec. Mstr. Aug. 9, 2010) (“Veryzer II”). Within hours of the
vaccinations, petitioner suffered fever and chills, and within days experienced sever pain and
physical injuries, including “complete sexual dysfunction [including] . . . pain in the head of
his penis; urethral burning; erectile dysfunction; decreased libido; and insensitivity in his
genitals/testicles.” Pet. filed July 17, 2006, ¶¶ 17-18 (Fed. Cl. Spec. Mstr.). Petitioner
alleges that these injuries caused him to suffer depression, panic attacks, severe anxiety, and
suicidal thoughts. Id. ¶ 37. All of these injuries petitioner attributes to his vaccinations.
Veryzer II, 2010 WL 5185485, at *1. Petitioner originally filed a petition in the United
States Court of Federal Claims pursuant to 42 U.S.C. § 300aa-11 on September 29, 2003.
Petitioner sought compensation due to injuries only caused by the Hepatitis B vaccination,
because at the time of petitioner’s filing the Hepatitis A vaccine had not been added to the
Vaccine Injury Table. Id.; see National Vaccine Injury Compensation Program: Inclusion



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of Hepatitis A Vaccines in the Vaccine Injury Table, 69 Fed. Reg. 69,945, 69,945-46 (Dec.
1, 2004) (adding Hepatitis A to Vaccine Injury Table).

        Due to difficulty obtaining an expert to testify in support of petitioner’s Hepatitis B
claim, petitioner on November 2, 2004 withdrew his petition. Veryzer II, 2010 WL 5185485,
at *1; see also 42 U.S.C. § 300aa-12(g), -21(b) (permitting petitioner to withdraw petition
if special master has not issued decision within 240 days from date petition was filed). “That
case was thus concluded without a final order . . . and without entry of judgment on the
petitioner’s claim for compensation.” Veryzer II, 2010 WL 5185485, at *2. A month later,
on December 1, 2004, Hepatitis A was added to the Vaccine Injury Table. See 69 Fed. Reg.
69,945, 69,945-46. Petitioner filed suit against the vaccine manufacturer, SmithKline
Beecham Corporation, in the United States District Court for the Northern District of New
York, alleging that both the Hepatitis A and Hepatitis B vaccines caused his injuries.
Veryzer II, 2010 WL 5185485, at *2. The manufacturer demurred, arguing that, because the
Hepatitis A vaccine was now included in the Vaccine Injury Table, petitioner was required
first to bring his Hepatitis A claim under the Vaccine Act before he could sue the
manufacturer. Id. The district court dismissed petitioner’s second suit without prejudice.
Id.

       On July 17, 2006, petitioner filed his current petition in the Court of Federal Claims,
claiming entitlement to compensation under the Vaccine Act due to injuries caused by the
Hepatitis A vaccine. Pet. at 1, 9. Petitioner’s relevant medical records were submitted on
March 9, 2007. Petitioner initially obtained a medical expert who opined that the injuries
were caused by the Hepatitis B vaccine, not Hepatitis A. Veryzer v. Sec’y of Health &
Human Servs., No. 06-0522V, 2008 WL 440298, at *1 (Fed. Cl. Spec. Mstr. Jan. 30, 2008).
On April 6, 2007, petitioner moved to amend his petition to include a claim for the Hepatitis
B vaccine, which the special master denied pursuant to 42 U.S.C. § 300aa-11(b)(2) and the
doctrine of claim preclusion; petitioner was required to rest his petition on a theory that the
Hepatitis A vaccination caused his injuries. Veryzer II, 2010 WL 5185485, at *2. Petitioner
obtained expert reports from Drs. Andrew Moulden, M.D., Ph.D., and Sherri Tenpenny, D.O.
Dr. Moulden concluded that petitioner’s injuries were the result of the eponymous “Moulden
Anoxia Spectra Syndrome,” or “M.A.S.S. response,” which resulted from the Hepatitis A
vaccination and caused neurological, physiological, and functional damage to petitioner.
Pet’r’s Br. filed Aug. 27, 2008, Ex. 2 at 112, ECF No. 36 (Fed. Cl. Spec. Mstr.) (the
“Moulden Report”); see also Veryzer v. Sec’y of Health & Human Servs., No. 06-0522V,
2010 WL 2507791, at *3 (Fed. Cl. Spec. Mstr. May 19, 2010) (“Veryzer I”). The special
master aptly summarized Dr. Moulden’s theory, as follows:

              Dr. Moulden does not ascribe credibility to the accepted theories
       typically proffered to explain vaccine injuries, instead believing that, as with

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       “most people with vaccine-related injuries,” Petitioner actually suffered from
       the root mechanism of vaccine injury: the MASS response, which he weaves
       into a pastiche of seemingly unrelated conditions, without limiting to the ones
       from which Petitioner was affected. According to Dr. Moulden’s report,
       regardless of the contents of the particular vaccine, they all result initially in
       the same MASS response, albeit manifesting in sundry injuries such as Autism
       Spectrum Disorder, Sudden Infant Death Syndrome, Guillain-Barré Syndrome,
       Gulf War Syndrome, and the heretofore unnamed “Gardasil War Syndrome.”
       Even in describing the terminal effects of his MASS response . . . Dr. Moulden
       would not describe its specific activation, onset, or mechanism, demurring that
       such information “is proprietary level information and will not be disclosed for
       the purposes of [the] expert report.”

              Dr. Moulden stated in his report that “all vaccines are useless–always
       have been, always will be,” that “vaccinations are the number one cause of
       chronic disease and disability in otherwise healthy individuals–globally,” and
       that “all vaccines are causing death, brain damage, ischemic strokes, and
       chronic illness–to the brain, the body, and to our pets.”

Id. (alterations in original) (citations omitted) (footnotes omitted). Dr. Moulden contends
that “[Louis] Pasteur’s germ theory of mammalian disease is both incorrect and inaccurate
in that “disease is NOT being caused by ANY particular pathogen or strain of
pathogen . . . it is the non-specific immune response to foreign substances []in the body and
blood stream that causes disease—all diseases.” Moulden Report at 90 (ellipsis in original).
Dr. Moulden believes that “[t]he entire medical model is both flawed and incorrect” and he
states “conclusively” that “vaccinations are neither necessary nor effective in preventing any
human disease in any form whatsoever.” Id. at 91.

       Dr. Tenpenny’s report, by contrast, lacks the bombast and sweeping historical
conclusions associated with Dr. Moulden’s. Dr. Tenpenny concludes a three-page case
history by opining that petitioner’s injuries either “could . . . be categorized as a form of acute
disseminated encephalomyelitis, or ADEM,” or “undiagnosed [multiple sclerosis (“MS”)].”
Pet’r’s Br. filed Aug. 27, 2008, Ex. 1 at 5-6, ECF No. 35 (Fed. Cl. Spec. Mstr.) (the
“Tenpenny Report”). Dr. Tenpenny cites as support for her MS theory a report from Dr.
March Girard, which was filed in support of petitioner’s Hepatitis B claim, and attributes the
MS symptoms to the Hepatitis B vaccination. Veryzer I, 2010 WL 2507791, at *13.

        On October 17, 2008, respondent filed two motions in limine seeking to exclude the
opinions of Drs. Moulden and Tenpenny, arguing that the proffered experts do not satisfy the
reliability standard for the admissibility of expert testimony set by the United States Supreme

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Court in Daubert, 509 U.S. 579, and by the United States Court of Appeals for the Federal
Circuit in Terran v. Secretary of Health and Human Services, 195 F.3d 1302 (Fed. Cir. 1999),
and fail to meet the threshold of relevance and reliability set forth in RCFC App. B, Vaccine
R. 8(b)(1) (“Vaccine Rule”). 1/ See Veryzer I, 2010 WL 2507791, at *1.

       Respondent argued that the special master had authority to exclude expert opinion
testimony in limine through the interplay of 42 U.S.C. § 300aa-13(b), Vaccine R. 8, and
Daubert and its progeny. Id. at *3-5. 2/ Respondent faulted Dr. Moulden’s methodology for
lack of testing, peer review, or publication, id. at *6, and characterized the expert’s opinions
as “unreliable ipse dixit,” that “diverge[] quite obtusely from accepted scientific
methodology,” id. at *3. Respondent challenged the reliability of Dr. Tenpenny’s opinion
on the basis of her qualifications, arguing that her medical degree in osteopathy and
background in emergency medicine do not qualify her to opine on matters of neurology. Id.
at *12-13 (noting also Dr. Tenpenny’s lack of published, peer-reviewed articles). Petitioner’s
“primary defense” of both Drs. Moulden and Tenpenny was that they both “‘employed
differential diagnosis in reaching their conclusions,’” which is widely recognized and
accepted in the medical community, thereby rendering their methodology reliable. Id. at *8.

       On May 19, 2010, the special master granted both motions in limine. The special
master framed the initial issue to be decided as whether a special master “has authority to
exclude evidence, or whether, on the contrary, it must admit and consider everything filed
or propounded by either party.” Veryzer I, 2010 WL 2507791, at *19. Second, the special
master sought to determine the appropriate legal standard for excluding evidence. Id. at *18.
Regarding the first question, the special master concluded that he had authority to exclude
proffered evidence. In addition to the Vaccine Rules and case law, the special master relied



       1/ Vaccine Rule 8, which governs the receipt of evidence by the special masters,
provides, in relevant part: “In receiving evidence, the special master will not be bound by
common law or statutory rules of evidence but must consider all relevant and reliable
evidence governed by principles of fundamental fairness to both parties.” Vaccine R.
8(b)(1).

       2/ Petitioner stipulated that the special master had authority to exclude expert opinion
evidence in limine. See Veryzer I, 2010 WL 2507791, at *8 (“On the issue of the legal
standard governing the Court in ruling on Respondent’s Motion, Petitioner essentially
stipulates to Respondent’s analysis of the case law, from FRE 702, on to Daubert, then to
Terran, concluding that ‘Daubert has been held to provide special masters with a helpful
analytical framework for assessing the reliability of the evidence presented in vaccine
cases.’” (citation omitted)).

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on 42 U.S.C. § 300aa-13(b)-(c) as authority. 3/ See Veryzer I, 2010 WL 2507791, at *18
(“As always, ‘[w]e begin our analysis with the language of the Vaccine Act.’” (quoting
Markovich v. Sec’y of Health & Human Servs., 477 F.3d 1353, 1357 (Fed. Cir. 2007))).

       The special master summarized the provision as requiring the special master to
“consider all relevant medical and scientific evidence contained in the record, but . . . the
record is itself established by the Court [i.e., the special master].” Id. at *19 (internal
quotation marks omitted). Next, the special master emphasized two clauses:



       3/ 42 U.S.C. § 300aa-13(b)-(c) provides, in relevant part:

       (b) Matters to be considered

              (1) In determining whether to award compensation to a petitioner . . .
       the special master or court shall consider, in addition to all other relevant
       medical and scientific evidence contained in the record––

                     (A) any diagnosis, conclusion, medical judgment, or autopsy or
              coroner’s report which is contained in the record regarding the nature,
              causation, and aggravation of the petitioner’s illness, disability, injury,
              condition, or death, and

                     (B) the results of any diagnostic or evaluative test which are
              contained in the record and the summaries and conclusions.

       Any such diagnosis, conclusion, judgment, test result, report, or summary shall
       not be binding on the special master or court. In evaluating the weight to be
       afforded to any such diagnosis, conclusion, judgment, test result, report, or
       summary, the special master or court shall consider the entire record and the
       course of the injury, disability, illness, or condition until the date of the
       judgment of the special master or court.

       ....

       (c) “Record” defined

              For purposes of this section, the term “record” means the record
       established by the special masters of the United States Court of Federal Claims
       in a proceeding on a petition filed under section 300aa-11 of this title.

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               First, subsection (b)(1) states that the Court must consider all evidence
       in the medical records, “in addition to all other relevant medical and scientific
       evidence.” It is within this latter category that expert witness materials are
       included. To this category, the explicit modifiers “relevant,” “medical,” and
       “scientific” appear to be preconditions. There is no manifest statutory mandate
       for the Court to consider expert materials that do not at least facially meet
       these criteria. Second, the [Vaccine] Act gives explicit authority, in subsection
       (c), to “establish” the record, and the record thus established is the record that
       subsection (b) . . . instructs the Court to consider.

Id. at *19. The special master concluded that subsection (c) grants authority to exclude
evidence deemed not relevant. See id. The special master cited Vaccine Rule 8 as “the
relevant rule of procedure to effectuate this process.” Id. at *20.

       The special master agreed with respondent’s invocation of Daubert’s evidentiary
“gatekeeping” function , reasoning that the Federal Circuit’s opinions in de Bazan v.
Secretary of Health and Human Services, 539 F.3d 1347, 1352 n.4 (Fed. Cir. 2008), and
Munn v. Secretary of Health and Human Services, 970 F.2d 863, 870 n.10 (Fed. Cir. 1992),
“contemplated that exclusion in limine is an option, provided it is timely raised and not
waived.” Veryzer I, 2010 WL 2507791, at *19. 4/

       Turning to the appropriate legal standard, the special master agreed with respondent
that the “general reliability requirement of Daubert” applies to the special master’s
adjudication of vaccine petitions, Veryzer I, 2010 WL 2507791, at *5, which requires that



        4/ See de Bazan, 539 F.3d at 1352 n.4 (“Daubert is inapposite here because the
special master did not exclude any expert evidence under Daubert. Rather, the special master
admitted and weighed both parties’ evidence but simply decided that the government's
evidence was more persuasive.”); Munn, 970 F.2d at 870 n.10 (“[Standards of review
applicable to special master’s decisions] vary in application as well as degree of deference.
Each standard applies to a different aspect of the judgment. Fact findings are reviewed by
us, as by the Claims Court judge, under the arbitrary and capricious standard; legal questions
under the ‘not in accordance with law’ standard; and discretionary rulings under the abuse
of discretion standard. The latter will rarely come into play except where the special master
excludes evidence.”). The special master also cited as confirmation the Supreme Court’s
post-Daubert opinion, Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), which held that
“a court of appeals is to apply an abuse-of-discretion standard when it review[s] a trial
court’s decision to admit or exclude expert testimony,” id. at 152 (alteration in original)
(citation omitted) (internal quotation marks omitted).

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special masters “eschew unreliable evidence, in whatever procedural form that may take,”
id. at *21 (citing Libas, Ltd. v. United States, 193 F.3d 1361 (Fed. Cir. 1999); Terran, 195
F.3d 1302). The special master thus held that, while “there is justly a recalcitrance within
the Vaccine Program to exclude evidence,” he may nevertheless “exclude unreliable evidence
where the Court is persuaded to a preponderance that it is unreliable.” Id. at *21. This
standard is satisfied “only where an expert’s methodology is so divergent from the scientific
method as to be nonsensical and confusing as a whole,” or, put another way, exclusion is
proper “only . . . where the material sought to be excluded is so unreliable, it patently forfeits
every trace of being helpful to the Court’s consideration of the facts of the case.” Id. (“[A]
merely dubious conclusion or a lopsided weighing of evidence does not satisfy the standard
of exclusion.”).

        The special master did not flinch when applying this standard to petitioner’s proffered
experts. He found that Dr. Moulden’s opinions are so unreliable as to warrant exclusion
from the record. Dr. Moulden’s methodology “diverges (even veers) from accepted medical
science on . . . a fundamental level,” and his opinion lacks a “single indicium of reliability”
such that his report “would manifestly be unhelpful” to the special master’s determination.
Id. at *25. Exclusion in this instance is warranted because Dr. Moulden “openly flaunts that
he does not follow generally accepted medical science,” and cited Dr. Moulden’s rejection
of Pasteur’s germ theory, his belief that “‘all vaccines are useless,’ and that vaccines are the
primary pathogen in the world.” Id. at *22 (“As the Supreme Court stated in Kumho Tire,
a reliable expert must adhere to ‘the same level of intellectual rigor that characterizes the
practice of an expert in the relevant field.’” (quoting Kumho Tire Co. v. Carmichael, 526
U.S. 137, 152 (1999))).

       More critically, the special master found that Dr. Moulden failed to demonstrate how
the Hepatitis A vaccine might have caused petitioner’s injuries. Id. at *23 (“To the extent
he discussed this at all, [Dr. Moulden] guarded his opinion on these matters as proprietary
and secret.”). The special master noted that Dr. Moulden’s only offer of proof to support his
theory of vaccine-caused injuries is petitioner’s (as well as many other’s) eye and face
muscle patterns that purport to show “several small ischemic events (strokes) in the brain,
based on a postulated inability of white blood cells, multiplied and activated in response to
the vaccine, to traverse small blood vessels.” Id. at *24. Dr. Moulden concludes that the
small strokes “cause sundry and different injuries (depending on the individual), but
completely without explanation or evidence: not a clue as to how this hypothesis could be
observed or tested physically.” Id. (noting, as well, that petitioner’s response to respondent’s
objection merely “recapitulated Dr. Moulden’s theory,” without any other “reasoned
defense,” which is “actually rather shocking that Petitioner would not only proffer such a
fatuous opinion in the first place, but would rise to the defense of mere twaddle”).



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        Petitioner sought to minimize the import of Dr. Moulden’s lack of medical experience
or expertise in neurology by emphasizing the expert’s research. The special master resisted
such finesse by pointing out that none of Dr. Moulden’s theories have been subject to testing,
duplication of results, and falsifiability because his research has not been published. Id. at
*23. 5/ Due to Dr. Moulden’s “recalcitrant” attitude towards disclosing the research and
methodology underlying his MASS response theory to the special master or to peer review,
the special master characterized Dr. Moulden’s opinion as mere ipse dixit. Id. Finally, the
special master rejected petitioner’s premise that Dr. Moulden’s opinion is reliable because
his conclusions were the result of differential diagnosis, instead finding that Dr. Moulden
failed to perform a correct differential diagnosis. Id. at *24.

        Turning to Dr. Tenpenny, the special master found that she lacked a “demonstrated
level of expertise that would qualify her to opine” on petitioner’s injuries. Id. at *25. The
special master reasoned that Dr. Tenpenny is a doctor of osteopathy, who “was (for a time)
a practicing, board-certified doctor of emergency medicine,” id., which do not constitute the
requisite qualifications necessary to offer a reliable opinion as to the neurological conditions
that she ascribed to petitioner, MS or ADEM. Id. (noting that the basis for Dr. Tenpenny’s
(alternative) MS diagnosis was the expert report filed by Dr. Girard earlier in the litigation,
“not her own expertise”). Dr. Tenpenny could not declare definitively that petitioner’s
injuries were indicative either of MS or ADEM, and the “wide difference between the
causes, development, phase, and other elements of pathology in each illness” revealed that
“Dr. Tenpenny is overmatched by the subject matter.” Id.




      5/ Regarding Dr. Moulden’s unconventional publications, the special master
concurred with respondent, stating:

       As Respondent summarized his statements, “Dr. Moulden will not be
       describing his findings in a scholarly peer-reviewed scientific journal; rather,
       his ‘findings’ will be ‘partially released to 6 people/groups’ in ‘6 red
       envelopes.’” Dr. Moulden’s Curriculum Vitae lists several publications, which
       might support or disparage his theory, except that they are in fact unpublished
       manuscripts listed as “in prep” or “intellectual property,” either awaiting
       publication or being held indefinitely from publication by Dr. Moulden.
       Respondent concluded on this point that “Dr. Moulden’s theory regarding the
       existence of a ‘MASS’ response has not been, and most likely never will be,
       subjected to peer review.”

Veryzer I, 2010 WL 2507791, at *6 (footnote omitted) (citations omitted).

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       Moreover, Dr. Tenpenny neither explained how the Hepatitis A vaccine caused
petitioner’s conditions, nor even referred to petitioner’s medical records, failures that render
her report “thoroughly worthless” and “not relevant enough, to be admissible.” Id. at *26.
As with Dr. Moulden, the special master found that Dr. Tenpenny did not engage in a proper
differential diagnosis, contrary to petitioner’s argument. Id. (“Nowhere in her report did she
consider other specific diagnoses, weigh each according to their correspondence with
Petitioner’s course, and settle on one based on reason.”); see also id. at *26 n.31 (explaining
that temporal association alone is not sufficient proof of causation in fact (citing Grant v.
Sec’y of Health & Human Servs., 956 F.2d 1144, 1148-49 (Fed. Cir. 1992))). Having
excluded the expert opinions of both Drs. Moulden and Tenpenny, the special master ordered
petitioner to find a “credibly qualified, methodologically reliable expert” to opine on
petitioner’s claim that the Hepatitis A vaccine caused his injuries. Id. at *27.

       After petitioner declined to submit additional expert materials, on June 7, 2010, he
moved for a ruling on the written record. Veryzer II, 2010 WL 5185485, at *1. On August
9, 2010, the special master granted petitioner’s request and issued a ruling on the written
record denying compensation. The special master found that the record submitted by
petitioner lacked “substantiating proof of the types of statutorily-required and amounting to
a preponderance of the evidence.” Id. After reviewing petitioner’s medical records, the
special master found that the records “mention, but do not in any way support, a causative
connection between the Hepatitis A vaccination administered and the injuries suffered under
an actual causation burden of proof.” Id. at *3. Because petitioner did not file another
medical expert report “of sufficient scientific methodology and validity,” the record did not
establish a plausible medical theory causally connecting the vaccination to the alleged
injuries by a preponderance of the evidence. Id. (citing Pafford v. Sec’y of Health & Human
Servs., 451 F.3d 1352, 1355 (Fed. Cir. 2006); Althen, 418 F.3d at 1278; Shyface v. Sec’y of
Health & Human Servs., 165 F.3d 1344, 1352 (Fed. Cir. 1999); Knudsen v. Sec’y of Health
& Human Servs., 35 F.3d 543, 549 (Fed. Cir. 1994)). Therefore, petitioner did not show an
entitlement to compensation. Id. at *4.

        Petitioner filed his motion for review on September 7, 2010, to which respondent filed
its response on October 7, 2010. The case was transferred to the undersigned on December
6, 2010. Petitioner argues, inter alia, that the special master acted arbitrarily and capriciously
by failing to make any reference to petitioner’s injuries and his almost 500 pages of medical
history, which are “directly relevant” to petitioner’s claim. Pet’r’s Br. filed Sept. 7, 2010,
at 2-3. In particular, the special master did not discuss the “onset of petitioner’s symptoms”
following the vaccinations. Id. at 2. Moreover, the order excluding petitioner’s expert
opinions or the decision on compensation did not refer to petitioner’s affidavit. Id. at 4.
Petitioner contends that his medical records show that he was healthy before being
vaccinated, establish the temporal relationship between his vaccinations and the onset of

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symptoms, and substantiate his “progressive cognitive impairments,” which satisfy
petitioner’s burden to show causation between the Hepatitis A vaccine and his injuries. Id.
at 4-5. Finally, petitioner argues that the special master employed an overly strict
construction of Daubert and erred as a matter of law in not admitting petitioner’s expert
opinions on the ground of unreliable methodology because both proffered theories of
causation that are “reasonably plausible.” Id. at 5. According to petitioner, the special
master engaged in impermissible credibility determinations as a pretext to reject the expert’s
various causation theories, id. at 7, and abused his discretion in denying petitioner’s request
for an evidentiary hearing to “elucidate the experts’ theories,” id. at 8.

                                       DISCUSSION

I. Standards

       1. Standard of review

      The Vaccine Act specifies three alternative courses of action available to the Court
of Federal Claims in reviewing a special master’s decision. The court may

       (A) uphold the findings of fact and conclusions of law of the special master
       and sustain the special master’s decision,
       (B) set aside any findings of fact or conclusions of law of the special master
       found to be arbitrary, capricious, an abuse of discretion, or otherwise not in
       accordance with the law and issue its own findings of fact and conclusions of
       law, or
       (C) remand the petition to the special master for further action in accordance
       with the court’s direction.

42 U.S.C. § 300aa-12(e)(2). The special master’s findings of fact are reviewed under the
deferential “arbitrary and capricious” standard. See id. § 300aa-12(e)(2)(B); de Bazan, 539
F.3d at 1350-51; Lampe v. Sec’y of Health & Human Servs., 219 F.3d 1357, 1360 (Fed. Cir.
2000) (explaining that arbitrary and capricious standard is “particularly” difficult to satisfy
when issue “turns on the weighing of evidence by the trier of fact”); Munn, 970 F.2d at 870
(noting that arbitrary and capricious standard is “well understood to be the most deferential
possible”). In contrast, the special master’s conclusions of law are reviewed without
deference. Cedillo v. Sec’y of Health & Human Servs., 617 F.3d 1328, 1338 (Fed. Cir.
2010); Munn, 970 F.2d at 870 (explaining “[i]ssues of law—constitutional imperatives,
statutory construction, procedural requirements—come to [the Federal Circuit] for decision
with little if any deference owed to or expected by the forums below”). Discretionary


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rulings, such as the exclusion of evidence, are reviewed under the abuse of discretion
standard. Cedillo, 617 F.3d at 1338; Munn, 970 F.2d at 870 n.10.

       2. Proving causation in Vaccine Act cases

        To be compensated under the Vaccine Act, petitioners must prove that an injury was
caused by a vaccine listed on the Vaccine Injury Table set forth in 42 U.S.C. § 300aa-14.
See id. § 300aa-11(c)(1)(A),(C); de Bazan, 539 F.3d at 1351. The Vaccine Injury Table, 42
U.S.C. § 300aa-14(a), “lists symptoms and injuries associated with each listed vaccine and
a timeframe for each symptom or injury.” de Bazan, 539 F.3d at 1351. Petitioners can meet
the causation burden in one of two ways. Walther v. Sec’y of Health & Human Servs., 485
F.3d 1146, 1149 (Fed. Cir. 2007). If petitioners demonstrate that the injury falls under the
Vaccine Injury Table within the time frame prescribed by the Table (a “Table injury”),
causation is presumed. See 42 U.S.C. § 300aa-14(a); Walther, 485 F.3d at 1149.
Alternatively, if the injury is not included on the Vaccine Injury Table, or falls outside the
prescribed time frame for the symptom to occur, petitioners must prove by a preponderance
of the evidence that the vaccine was the cause in fact of the injury (an “off-Table” injury).
See 42 U.S.C. § 300aa-11(c)(1)(C)(ii)(I); Walther, 485 F.3d at 1149; see also Shyface, 165
F.3d at 1350. Causation in fact is established by demonstrating by preponderant evidence
1) a medical theory causally connecting the vaccination and the injury; 2) a logical sequence
of cause and effect showing that the vaccination was the reason for the injury; and 3) a
showing of the proximate temporal relationship between the vaccination and injury. Althen,
418 F.3d at 1278; see also Broekelschen v. Sec’y of Health & Human Servs., 618 F.3d 1339,
1345 (Fed. Cir. 2010); Moberly v. Sec’y of Health & Human Servs., 592 F.3d 1315, 1322
(Fed. Cir. 2010). Once petitioners meet their burden of proving causation in fact, thereby
establishing a prima facie case for entitlement, the burden shifts to respondent to prove that
the injury was caused by factors unrelated to the administration of the vaccine. 42 U.S.C.
§ 300aa-13(a)(1)(B); de Bazan, 539 F.3d at 1352.

II. The special master’s decision granting respondent’s motion to exclude

       1. Daubert applies in Vaccine Act proceedings

      The court begins its analysis by noting that petitioner does not contest the special
master’s authority to exclude expert opinions. See Pet’r’s Br. filed Sept. 7, 2010, at 5-8;
Veryzer I, 2010 WL 2507791, at *8 (“On the issue of the legal standard governing the Court
in ruling on Respondent’s Motion, Petitioner essentially stipulates to Respondent’s analysis
of the case law, from FRE 702, on to Daubert, then to Terran, concluding that ‘Daubert has
been held to provide special masters with a helpful analytical framework for assessing the
reliability of the evidence presented in vaccine cases.’” (citation omitted)). Because the

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nature and extent of this authority bear on its exercise, which is contested, the court states
its agreement with the special master’s analysis of the issue and his conclusion that he
possesses discretionary authority to exclude from the record expert evidence deemed
unreliable. In Munn the Federal Circuit observed that discretionary rulings are viewed on
appeal under the abuse of discretion standard, which “rarely will come into play except
where the special master excludes evidence.” Munn, 970 F.2d at 870 n.10. This authority
is rooted in the Vaccine Act, which invests the special master with discretionary authority
to exclude from the record—as “established by the special master,” 42 U.S.C. § 300aa-
13(c)—evidence that is not “relevant medical and scientific evidence,” id. § 300aa-13(b)(1).
Vaccine Rule 8 implements this statutory grant of authority, providing that the special master
must “consider all relevant and reliable evidence.” Vaccine R. 8(b)(1). The special master
cited Daubert as “a transferable concept” for reliability, correctly noting that the “specific
locus” of which was “the exclusionary rule of FRE 702,” which is inapplicable to Vaccine
Act cases. Veryzer I, 2010 WL 2507791, at *21.

       Despite the genesis of Daubert in the Federal Rules of Evidence, it is well-settled law
that special masters may look to Daubert’s four factors when weighing the reliability of
expert opinion evidence already admitted. 6/ See Cedillo, 617 F.3d at 1339 (“We have
previously held that Special Masters may look to the Daubert standards in evaluating expert
testimony. . . . It is thus quite clear that the Daubert factors may be used in vaccine cases to
assess expert witnesses’ methodology . . . .”). However, Daubert’s application to exclude
evidence is less settled. See Terran, 195 F.3d at 1316 (holding that special masters may
analyze proffered expert testimony according Daubert, using its four factors “as a tool or
framework for conducting the inquiry into the reliability of the evidence”); Snyder v. Sec’y
of Health & Human Servs., 88 Fed. Cl. 706, 737 (2009) (“‘In cases filed under the Vaccine
Act, where the rules of evidence do not apply, Daubert does not generally serve as a basis
to exclude expert testimony, but rather, a framework to weigh and evaluate testimony.’”
(quoting Snyder v. Sec’y of Health & Human Servs., No. 01-162V, 2009 WL 332044, at
*138 (Fed. Cl. Spec. Mstr. Feb. 12, 2009))). But see Ryman v. Sec’y of Dep’t of Health &
Human Servs., 65 Fed. Cl. 35, 40 (2005) (“In Daubert, the Supreme Court assigned the trial
judge a ‘gate-keeping’ function to ensure the reliability of evidence presented to the trier-of-
fact. The [special master], of course, performs this same function when he determines



       6/ The four Daubert factors for determining the admissibility of expert opinion, as
established by the Federal Circuit in Cedillo, are “(1) general acceptance in the scientific
community; (2) whether the theory has been subjected to peer review and publication; (3)
whether the theory can and has been tested; and (4) whether the known potential rate of error
is acceptable.” Cedillo, 617 F.3d at 1339 (citing Daubert, 509 U.S. at 593-94).


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whether a particular petitioner’s expert medical testimony supporting biologic probability
may be admitted or credited or otherwise relied upon.”).

        Considering that special masters may use Daubert when weighing the reliability of
proffered expert opinion in a merits determination, and are bound by both § 300aa-13(b)(1)
and Vaccine Rule 8(b)(1) to consider only evidence that is both “relevant” and “reliable,”
it makes eminent sense to look to Daubert when determining whether to admit or exclude
proffered expert testimony or reports. As the special master noted, “it is a settled point of
law that binds this Court to eschew unreliable evidence, in whatever procedural form that
may take.” Veryzer I, 2010 WL 2507791, at *21 (noting that “the principle of reliability as
a precondition of reliance is a transferable concept”); see Cedillo, 617 F.3d at 1339
(explaining that “terms ‘relevant and reliable,’ [in] Vaccine Rule 8(b)(1) necessarily
contemplates an inquiry into the soundness of scientific evidence to be considered by special
masters,” and holding that special master did not error in applying Daubert “in evaluating
the reliability of the parties’ scientific evidence”); Moberly, 592 F.3d at 1324 (“[T]he special
master is entitled to require some indicia of reliability to support the assertion of the expert
witness.” (citing, inter alia, Daubert, 509 U.S. 579)); Whitecotton v. Sec’y of Health &
Human Servs., 81 F.3d 1099, 1108 (Fed. Cir. 1996) (“Congress desired the special masters
to have very wide discretion with respect to the evidence they would consider and the weight
to be assigned that evidence.” (emphasis added)); Perreira v. Sec’y of Dep’t of Health &
Human Servs., 33 F.3d 1375, 1377 n.6 (Fed. Cir. 1994) (“An expert opinion is not better
than the soundness of the reasons supporting it.”); cf. Uniloc USA, Inc. v. Microsoft Corp.,
No. 2010-1035, slip op. at 42-43 (Fed. Cir. Jan. 4, 2011) (applying Daubert and Kumho Tire
under Fed. R. Evid. 702 in patent opinion, and stating “[i]f the patentee fails to tie the theory
to the facts of the case, the testimony must be excluded”); Libas, 193 F.3d at 1366 (“Daubert
and Kumho were decided in the context of determining standards for the admissibility of
expert testimony under the Federal Rules of Evidence, which are not at issue here. We agree
with [petitioner], however, that the proposition for which they stand, that expert testimony
must be reliable, goes to the weight that evidence is to be accorded as well as to its
admissibility.” (emphasis added)).

       2. Whether the special master abused his discretion

       Petitioner submits that the special master’s construction of Daubert was overly strict
and that he erred as a matter of law in not admitting petitioner’s expert opinions on the
ground of unreliable methodology when both experts proffered theories of causation that are
“reasonably plausible.” Pet’r’s Br. filed Sept. 7, 2010, at 5. Petitioner submits that the
special master engaged in impermissible credibility determinations as a pretext to reject the
experts’ various causation theories in contravention of Andreu v. Secretary of Health and
Human Services, 569 F.3d 1367, 1379 (Fed. Cir. 2009), which held that special masters

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cannot “cloak the application of an erroneous legal standard in the guise of a credibility
determination.” For the reasons set forth below, the court disagrees. The special master’s
decision granting respondent’s motions in limine is an admirably intellectual and careful
review of the law and of the experts’ reports and credentials.

        Indeed, petitioner took a calculated risk in proffering the opinion of Dr. Moulden, who
does not follow the methods accepted by medical science and outright rejects the scientific
method. See Moulden Report at 90-91 (rejecting Pasteur’s germ theory and describing all
vaccines as “useless”). The special master was charitable in noting that this opinion
“diverges from the understanding of acceptable medical science, not least in the field of
immunology.” Veryzer I, 2010 WL 2507791, at *22. Further, the court agrees with the
special master’s assessment that rejecting germ theory in toto fatally undermines any
ascription of reliability to Dr. Moulden’s opinion because those matters “affect the very fiber
of scientific methodology,” id., and are contrary to the Supreme Court’s instruction that a
reliable expert must “employ[] in the courtroom the same level of intellectual rigor that
characterizes the practice of an expert in the relevant field,” Kumho Tire, 526 U.S. at 152.

        Notably, the special master explained that he was not penalizing Dr. Moulden merely
for postulating an unorthodox theory. See Veryzer I, 2010 WL 2507791, at *22 n.25 (“To
be clear, the Court is not prejudicing Dr. Moulden for having an opinion outside the
mainstream current of medical scientific thought. His opinion that ‘The entire medical model
is both flawed and incorrect,’ however, was made without a scintilla of logical or scientific
support, and that is the reason for the Court’s disregard for his opinion at this point (among
others).”). Dr. Moulden did not submit for peer review (or to the special master) his research
supporting his M.A.S.S. response theory of causation linking the Hepatitis A vaccine to
petitioner’s injuries; instead he “guarded his opinion on these matters [as] proprietary and
secret.” Id. at *23. Petitioner offers no response to the special master’s findings that Dr.
Moulden failed to submit his research for publication within the medical field or release the
results of his research. It is not an “overly strict construction of [Daubert,]” Pet’r’s Br. filed
Sept. 7, 2010, at 5, to require that Dr. Moulden’s methodology correspond to a single Daubert
factor, see Veryzer I, 2010 WL 2507791, at *23 (“Furthermore . . . the absence of publication
within the medical field also makes testing, duplication of results, and falsifiability
impossible for others to perform.”).

        The court similarly finds no error in the special master’s decision regarding Dr.
Tenpenny. The special master rejected Dr. Tenpenny on the reasonable ground that she
lacked the requisite expertise in neurology, which, considering her theories of either MS or
ADEM, is the subject upon which petitioner asked her to opine. See Veryzer I, 2010 WL
2507791, at *25. As the special master noted, Dr. Tenpenny’s experience and background
are in emergency medicine, not neurology. Beyond repeating Dr. Tenpenny’s conclusions,

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petitioner offers no response to the special master’s finding that Dr. Tenpenny failed to
explain how the Hepatitis A vaccine caused petitioner’s injuries or definitively choose
between the theories of MS and ADEM. See id. at *25-26. Petitioner does not point to any
specific fault in the special master’s determination that the methodology employed by the two
experts was unreliable, other than simply to restate the three conflicting theories of causation
offered by the experts. In fact, had the special master accepted the reliability of Dr.
Moulden, as a point of logic, he necessarily would be rejecting the reliability of Dr.
Tenpenny, as she at least adheres to traditional medical models that are the subject of Dr.
Moulden’s derision.

        The special master’s discretionary rulings are overturned only if petitioner
demonstrates an abuse of discretion. See Munn, 970 F.2d at 869. The special master’s
exclusion of petitioner’s expert opinions cannot be regarded as an improper credibility
determination, nor was it merely the result of “distaste” for their opinions. See Pet’r’s Br.
filed Sept. 7, 2010, at 7. Instead, as respondent submits, they were excluded based on “the
methodological flaws and lack of any substantive support provided by either expert.” Resp.’s
Br. filed Oct. 7, 2010, at 12. The special master’s determinations are supported by precedent
from the Federal Circuit:

       While Daubert does not require that the expert’s ultimate conclusions be
       generally accepted in the scientific community, and the focus on a Daubert
       inquiry must generally be “on principles and methodology, not on the
       conclusions they generate,” “conclusions and methodology are not entirely
       distinct from one another . . . . A court may conclude that there is simply too
       great an analytical gap between the data and the opinion proffered.”

Cedillo, 617 F.3d at 1339 (alteration in original) (quoting Gen. Elec. Co. v. Joiner, 522 U.S.
136, 146 (1997)). Too great an analytical gap is precisely what the special master found.
His decision was well reasoned and not an abuse of discretion.

       3. The special master’s exclusion of expert opinions without a hearing

       Petitioner challenges the special master’s denial of his request for an evidentiary
hearing, contending that excluding the opinions of Drs. Moulden and Tenpenny without a
hearing to assess their credibility was an abuse of discretion. The Vaccine Act commits to
the special master the decision to hold an evidentiary hearing. See 42 U.S.C. § 300aa-
12(d)(3)(B)(iii), (v) (“In conducting a proceeding on a petition a special master . . . may
require the testimony of any person and the production of any documents as may be
reasonable and necessary . . . [and] may conduct such hearings as may be reasonable and
necessary.”). Similarly, Vaccine Rule 8 provides that the special master “may conduct an

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evidentiary hearing to provide for questioning of witnesses,” Vaccine R. 8(c)(1), and may
“decide a case on the basis of written submissions without conducting an evidentiary
hearing,” Vaccine R. 8(d). Both provisions use the discretionary word “may,” so the
decision not to hold a hearing squarely falls within the discretion of the special master.

       In this case the special master observed that “both parties have expressed themselves
fully herein, as certainly as Dr. Moulden did in his lengthy report,” Veryzen I, 2010 WL
2507791, at *7 n.12, and, after a detailed opinion that thoroughly analyzed the opinions and
credentials of both experts, he deemed the evidence to be so “patently unreliable” that a
hearing would be a waste of time and resources, id. at *26. The court concludes that the
special master’s denial of petitioner’s evidentiary hearing request was not an abuse of
discretion.

III. The special master’s decision denying compensation

       The Vaccine Act requires the special master to “issue a decision on [each] petition
with respect to whether compensation is to be provided under the Vaccine Program . . . .
The decision of the special master shall . . . include findings of fact and conclusions of law.”
42 U.S.C. § 300aa-12(d)(3)(A)(I). Additionally, the Vaccine Act sets forth, as a “[g]eneral
rule”:

       § 300aa-13. Determination of eligibility and compensation

       (a) General rule

              (1) Compensation shall be awarded under the [Vaccine] Program to a
       petitioner if the special master or court finds on the record as a whole—

                     (A) that the petitioner has demonstrated by a preponderance of
              the evidence the matters required in the petition by section 300aa-
              11(c)(1) of this title, and

                      (B) that there is not a preponderance of the evidence that the
              illness, disability, injury, condition, or death described in the petition
              is due to factors unrelated to the administration of the vaccine
              described in the petition.

       The special master or court may not make such a finding based on the claims
       of a petitioner alone, unsubstantiated by medical records or by medical
       opinion.

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42 U.S.C. § 300aa-13(a)(1).

       Having excluded the experts’ theories of causation, the special master afforded
petitioner another opportunity to find an expert whose opinion could support his burden to
establish “a medical theory causally connecting the vaccination and the injury.” Althen, 418
F.3d at 1278; see also Veryzer I, 2010 WL 2507791, at *27. Petitioner declined and
requested that the special master rule on the written record. Petitioner now contends that the
special master did not consider his medical records and affidavit. Petitioner’s motion for
review suggests that his affidavit, which details petitioner’s progressively more severe
injuries, see generally Affidavit of Petitioner Robert Veryzer, undated, ECF No. 41 (Fed.
Cl. Spec. Mstr.), and the close temporal proximity between administration of the Hepatitis
A vaccination and the onset of his “progressive cognitive impairments,” as set forth in his
medical records, satisfy petitioner’s burden to establish causation, see Pet’r’s Br. filed Sept.
7, 2010, at 4-5.

       The special master found, as follows:

               In this case, the medical records mention, but do not in any way
       support, a causative connection between the Hepatitis A vaccination
       administered and the injuries suffered under an actual causation burden of
       proof. Under the statute, the Court cannot grant a petitioner compensation
       based solely on the petitioner’s asseverations [his affidavit]. Rather, the
       petition must be supported by either medical records or by the opinion of a
       competent physician. 42 U.S.C. § 300aa-13(a)(1). Here, because the medical
       records do not manifestly support the petitioner’s claim of vaccine causation,
       a medical opinion of sufficient scientific methodology and validity must be
       offered in support. No medical expert opinion report meeting that standard
       was filed by Petitioner to support the claims of causation within the Petition
       to a preponderance of the evidence, and Petitioner therefore did not surmount
       the standard set by the settled law on this point. Accordingly, the information
       on the record extant does not show entitlement to an award under the
       [Vaccine] Program.

Veryzer II, 2010 WL 5185485, at *3. The special master explained that the medical records
petitioner filed were “absent” of a “detailed analysis of the Record to indicate a logical
sequence of cause and effect showing that the vaccination was the reason for the injury” and
that, therefore, petitioner had not offered a “theory of causation as such.” Id. at *4 (internal
quotation marks omitted).



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       The problem, however, is that the special master did not make findings of fact
concerning the medical records. Respondent conflates sections 12 and 13 to make the
inventive, but meritless, argument that the special master can make one finding on the record
as a whole. See Resp.’s Br. filed Oct. 7, 2010, at 9 (“Here, the special master’s Decision
plainly satisfies the requirements of the Act, by stating that after considering the medical
records, he found as a matter of fact that they did not support petitioner’s claim of vaccine
causation.”). Of course, the former provision requires findings of fact, while the latter
provision conditions eligibility to an award on a finding “on the record as a whole.”

       The 500-odd pages of medical records portray petitioner’s cognitive decline over an
eighteen-month period following petitioner’s April 25, 2001 Hepatitis A vaccination.
Petitioner became fixated on erectile dysfunction, then a scar that he attributed to the
vaccine, then his inability to focus and function professionally. A score of medical
professionals expressed as much concern with his mental state as his physical symptoms and
their etiology. Finally, beginning in March 2002, petitioner linked with doctors who
ascribed his deteriorated condition to elevated levels of mercury. One treating physician
specifically instructed: “Check for Aluminum, lead, mercury, arsenic and cadmium
intoxication (in serum and in urine 24 hours) in the context of this type symptomatology
after Hepatitis vaccination.” Pet’r’s Med. R. filed Mar. 9, 2007, at 393, ECF No. 18 (Fed.
Cl. Spec. Mstr.).

        The medical records offer inconsistent indications of possible causes, which the fact
finder may deem inconclusive and not a demonstration of a “logical sequence of cause and
effect showing that the vaccination was the reason for the injury.” Althen, 418 F.3d at 1278.
Petitioner has shown a “temporal relationship” between his vaccinations and the first
manifestation of his injuries. See id. However, this singular showing is not sufficient to
establish causation in fact without addressing the two remaining factors. See Grant, 956
F.2d at 1148 (“When a petitioner relies upon proof of causation in fact rather than proof of
a Table Injury, a proximate temporal association alone does not suffice to show a causal link
between the vaccination and the injury. To prove causation in fact, petitioners must show
a medical theory causally connecting the vaccination and the injury.”).

        Absent a causal connection from the medical records or reliable expert testimony,
petitioner’s only remaining proof was his affidavit, which he charges the special master
failed to review or even mention. The special master correctly adduced that compensation
cannot be granted “based solely on the petitioner’s asseverations,” Veryzer II, 2010 WL
5185485, at *3, i.e., based solely on petitioner’s affidavit, see 42 U.S.C. § 300aa-13(a)(1)
(“The special master or court may not make such a finding based on the claims of a
petitioner alone, unsubstantiated by medical records or by medical opinion.”). Whatever
weight the special master accorded petitioner’s affidavit is immaterial.

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        Nonetheless, contrary to the requirements of the Vaccine Act, the special master
failed to make factual findings that adequately articulate his reasons for concluding that
petitioner’s medical records are insufficient to establish a medical theory causally connecting
petitioner’s injuries to the Hepatitis A vaccination. See 42 U.S.C. § 300aa-12(d)(3)(A)(I)
(“The decision of the special master shall . . . include findings of fact and conclusions of
law.”). Fairness and equity require more than a single finding on the record as a whole.

       The undersigned judge recently sustained a special master’s decision denying
compensation and dismissing a petition in Simanski v. Secretary of Health and Human
Services, No. 03-103V, slip op. at 33 (Fed. Cl. Dec. 15, 2010) (“Simanski II”), wherein the
petitioners claimed, inter alia, that the special master failed to review the record as a whole,
including 24,835 pages of medical records and an affidavit, see id. at 30. Simanski is
distinguishable from the instant case.

        First, in the case at bar, petitioner’s medical records “mention . . . a causative
connection between the Hepatitis A vaccination administered and the injuries suffered.”
Veryzer II, 2010 WL 5185485, at *3. In Simanski, the special master explained: “Here it
appears that the medical records do not support the petitioners’ claim for compensation in
that petitioners have not identified any treating doctor who opined that Olivia’s condition was
caused by a vaccination.” Simanski v. Sec’y of Health & Human Servs., No. 03-103V, 2010
WL 2292200, at *12 (Fed. Cl. Spec. Mstr. May 13, 2010) (“Simanski I”). Second, petitioner
in this case points to specific medical records that he contends the special master failed to
consider. See Pet’r’s Br. filed Sept. 7, 2010, at 2-4. In Simanski, the petitioners failed to
identify any specific medical record that established causation and that the special master did
not consider. See Simanski II, slip op. at 33.

        While the special masters are not required to list every document reviewed, the special
master’s findings in Simanski demonstrated a review of the petitioner’s medical records. See
id. at 30-31 (noting special master’s recitation of petitioner’s medical history “is replete with
references to her medical record”). The special master in the instant case failed to explain
on any level why petitioner’s medical records “do not manifestly support the petitioner’s
claim of vaccine causation.” Veryzer II, 2010 WL 5185485, at *3. 7/ In contrast, the special
master’s denial of compensation in Simanski II was based on the sufficiency of petitioners’



       7/ The court does not take the special master’s statement to articulate a standard,
because, under Althen, it would be incorrect. Rather, the adverb “manifestly” appears to
have been misplaced, i.e., “petitioner’s medical records manifestly do not support causation.”
Whatever the intended meaning of “manifestly,” the special master did not make adequate
findings of fact.

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expert opinions in the record as a whole. In this case, once the special master excluded
petitioner’s expert reports, the decision was based on the contents of the petitioner’s medical
records. See generally Simanski I, 2010 WL 2292200, at *2-5. More importantly, the
court’s decision in Simanski was limited to the procedural question of whether the special
master had authority to dismiss a petition for failure to comply with a special master’s show
cause order requiring the petitioners to submit a sufficient expert medical opinion. See
Simanski II, slip op. at 32 (“What is presented in the instant case is a ruling on a procedural
issue . . . .”).

       The court contrasts these two reviews because they underscore the impropriety of the
Court of Federal Claims’ making factual findings in the first instance on an array of medical
records that were not argued to the special master. The court can review a special master’s
exclusion of evidence, i.e., the two expert opinions, which is a quintessential review function.
However, it cannot make findings on an agglomeration of medical records that were
submitted with a petition. Not only was there no record to review of what either petitioner
or respondent sought to glean from the medical records (petitioner requested a decision on
the record as a whole), but the potentially revelatory discussions between the special master
and the parties concerning the evidence were off the record and not memorialized in any
subsequent order. In short, the “record” before the special master that is before the Court of
Federal Claims on a motion for review in this case is not a record amenable to judicial review
when it consists of documentation submitted in support of a petition without a record of both
argument of counsel to the special master about what the medical records do or do not
establish and findings by the special master thereon. See generally Simanski II, slip op. at
31-33.

                                      CONCLUSION

       The court has carefully considered petitioner’s remaining arguments and deems them
without merit. The court concludes that the special master did not abuse his discretion by
excluding petitioner’s expert opinions, but that the special master did not make adequate
findings concerning petitioner’s medical records. Accordingly, based on the foregoing,

       IT IS ORDERED, as follows:

       1. Pursuant to 42 U.S.C. § 300aa-12(e)(2)(C), this matter is remanded to the office
of special masters for assignment to a new special master (the incumbent having retired),
who shall include findings of fact and conclusions of law concerning petitioner’s medical
records. The special master may reopen the record if he/she deems it reasonable and
necessary.


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2. The decision on remand shall be issued by May 2, 2011.



                                      /s/ Christine O.C. Miller
                                 ________________________________
                                      Christine Odell Cook Miller
                                      Judge




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